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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
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In re
                 Edward F. Miller                                           Case No.: 18-22449-rdd
                                                                            Chapter 7

                                       Debtor.
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                  ORDER GRANTING MOTION OF IRENE M. COSTELLO, ESQ.TO
             WITHDRAW AS COUNSEL FOR EDWARD F.MILLER AS AN ATTORNEY OF
                 RECORD PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1(e)


         Upon the motion (the “Motion”) of Irene M. Costello, Esq., for an order pursuant to Rule

2090-1(e) of the Local Rules for the Southern District of New York to withdraw as counsel of record

for Edward F. Miller, the debtor herein (the “Debtor”); and due and sufficient sufficient notice of the

Motion having been given under the circumstances; and there being no opposition filed; and upon

the record of the hearing held by the Court on the Motion on September 25, 2018 and all of the

proceedings herein; and after due deliberation and sufficient cause appearing therefor, it is hereby

           ORDERED that the Motion is granted; and it is further

           ORDERED that Irene M. Costello, Esq., and Cabanillas & Associates, PC, are granted

 leave to withdraw as counsel for the Debtor, Edward F. Miller and shall no longer be counsel

 of record for the Debtor herein or in any related proceeding; and it is further;

           ORDERED, that all contact between the Debtor and Irene M. Costello, Esq., and

 Cabanillas & Associates, P.C., shall through the Debtor’s new counsel;

           ORDERED that this Court shall retain jurisdiction to hear and determine all matters

 arising from or related to the implementation and/or interpretation of this order.

Dated: White Plains, New York
       September 27, 2018                                    /s/Robert D. Drain
                                                             United States Bankruptcy Judge




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